Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 1 of 6
Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 2 of 6
Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 3 of 6
Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 4 of 6
Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 5 of 6
Case 4:22-bk-02252-MJC   Doc 10 Filed 11/22/22 Entered 11/22/22 06:35:49   Desc
                         Main Document     Page 6 of 6
